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                    UNITED STATES DISTRICT COURT 
                         DISTRICT OF MINNESOTA 
                                     
                                     
Youa Vang Lee, trustee for the        COURT FILE NO. 07W1205 
Heirs and next‐of‐kin of              PAM/JSM07CV1205 PAM/JSM 
Fong Lee, Decedent,                    
                                       
                  Plaintiff,           
                                       
vs.                                   DEFENDANTS’ TRIAL BRIEF 
 
 
Officer Jason Andersen 
The City of Minneapolis 
State Trooper Craig Benz 
and the State of Minnesota  
 
                  Defendant 
                                     
    I.   INTRODUCTION 

         Jason Andersen and the City of Minneapolis offer this trial brief outlining 

the facts they intend to present at trial and a discussion of the relevant legal 

issues in this matter.   

   II.      FACTS 

         On  July,  22  2006,  Officer  Jason  Andersen  and  State  Trooper  Craig  Benz 

were patrolling together in a marked squad in the area of CityView Elementary 

School  in  North  Minneapolis.    Officer  Andersen  and  Trooper  Benz  saw  several 
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males riding bikes on Third Street heading toward the school.  Officer Andersen 

decided to follow the men on the bikes.  They had their windows down in their 

squad  car  and  tried  to  talk  to  the  cyclists  to  make  citizen  contact.    Two  of  the 

cyclists  headed  Northwest  and  the  squad  car  followed  them.    Soon  after  the 

cyclists turned the officers saw the two cyclists exchange an item between them.  

Andersen saw that the item was a gun, and it was passed to a man now known 

to be Fong Lee.  The man riding with Fong Lee at that time was apparently Tou 

Xiong.  

       Fong Lee continued riding his bike a short wile, then dropped his bike and 

ran  away  in  a  Northeasterly  direction  carrying  the  gun.      The  squad  car  never 

made contact with or hit any cyclist or any bicycle.  The cyclists with Fong Lee 

that day fled the scene when Lee started fleeing the officers.   

       Trooper  Benz  also  saw  Lee  with  the  gun  and  yelled  “gun”  and  “police.”  

Officer  Andersen  and  Trooper  Benz  then  exited  the  squad.    Both  officers  drew 

their weapons and chased after Lee on foot.  Officer Andersen ran after Lee while 

commanding  him  to  stop  and  to  drop  his  gun.    Andersen  aired  on  the  Police 

radio that he was chasing a person with a gun.  Early in the foot chase Trooper 

Benz  turned  back  briefly  to  get  the  squad  car,  then  thought  better  of  that  idea 




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and continued with the foot chase.  Trooper Benz was behind Officer Andersen 

when he began running again.   

       Andersen  chased  Lee  around  a  corner  of  the  school  between  the  school 

and  a  retaining  wall  next  to  I‐94.    As  Andersen  chased  him,  Lee  turned  back 

towards  Andersen  and  started  to  raise  his  gun.    Andersen,  who  had  been 

repeatedly yelling for Lee to drop the gun, reacted to Lee’s threat to his life and 

shot  his  weapon.    Andersen’s  shot  hit  the  ground,  not  Lee,  and  the  chase 

continued.  Lee kept running around the building and soon found himself in an 

artificial box canyon.  The school building was to his left and in front of him, and 

a steep embankment prevented any further flight to his right.  Lee’s only means 

of  retreat  would  have  been  back  towards  Andersen.    Andersen  kept  yelling  at 

Lee to drop the gun.  Lee turned a second time towards Andersen while holding 

the gun.  Andersen feared for his life and fired his pistol three times.  This time 

the shots hit Lee and knocked him to the ground.  Andersen again ordered Lee to 

drop the gun, but Lee held on to the gun and raised it yet again.  Andersen fired 

his  final  shots  at  Lee.    Lee’s  gun  fell  from  his  hands  and  landed  near  his  left 

hand.  Andersen maintained a defensive stance until he was certain the danger 

subsided.  Lee died as a result of his gunshot wounds. 




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       Backup  squad  cars  quickly  arrived  to  assist.    One  of  the  first  officers  to 

arrive  was  Officer  Bruce  Johnson.    Johnson  saw  Andersen  holding  his  gun 

towards  Lee.    He  approached  Andersen  and  had  him  taken  to  a  squad  car  to 

segregate him from the responding officers, as is dictated MPD policy.  Johnson 

approached  Lee’s  body  and  saw  him  on  the  ground  on  his  back  with  a  gun 

laying in the grass two to three feet from Lee’s left hand.   

       Numerous other officers arrived at the scene and saw the same situation.  

Most  helped  to  create  a  perimeter,  others  assessed  Lee’s  injuries,  and  others 

assisted the crime lab by placing blue cards next to any evidence they saw at the 

scene.  Such evidence included spent shell casings, and the gun at Lee’s left side.   

       A Russian made Baikal °380 ‐‐ BHE2281 was recovered next to Lee with a 

round in its chamber, several more rounds in its magazine and the safety in the 

firing position.   

       Jason Andersen reasonably perceived that his life was in danger when Lee 

turned towards him with the gun, and each time thereafter before he shot.  Thus, 

he was justified in the use of deadly force to protect himself and others, as well 

as  to  prevent  the  flight  of  a  person  who  had  offered  deadly  force  and  one  that 

might use deadly force again. 




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   III.    ISSUES 

           a. State Law Claims 

                  i. Andersen is entitled to official immunity for all state law 
                     claims.   

       Under  Minnesota  law,  a  public  official  is  automatically  entitled  to  official 

immunity  from  state  law  claims  when  he  is  charged  by  law  with  duties  that 

require the exercise of judgment or discretion.  Johnson v. Morris, 453 N.W.2d 31, 41 

(Minn. 1990); Elwood v. Rice County, 423 N.W.2d 671, 677 (Minn. 1988).  Duties of 

law  enforcement  and  crime  prevention  by  police  officers  are  considered 

discretionary duties entitling them to official immunity.  Johnson v. Morris, at 41‐42.  

State  law  immunity  rests  on  the  same  rationale  as  federal  qualified  immunity:  

courts must insure that the threat of suit does not inhibit public officialsʹ exercise 

of discretion in discharging their duties.  Rico v. State, 472 N.W.2d 100, 107 (Minn. 

1991);  Holmquist  v.  State,  425  N.W.2d  230,  233  n.1  (Minn.  1988).    Like  the  federal 

doctrine  of  qualified  immunity,  official  immunity  is  broadest  when  police  act  in 

emergency  situations  and  high‐risk  circumstances.    Pletan  v.  Gaines,  494  N.W.2d 

38, 41 (Minn. 1992) (immunity is broad because the community cannot expect its 

police officers  to do  their duty and  then to  second‐guess  them  when  they  do  it); 

See also McGovern v. City of Minneapolis, 480 N.W.2d 121, 126 (Minn. Ct. App. 1992). 



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       “[U]nder Minnesota law, the decision to use deadly force is a discretionary 

decision  entitling  a  police  officer  to  official  immunity  absent  a  willful  or 

malicious wrong.” Hassan v. City of Minneapolis, 489 F.3d 914, 920 (8th Cir. 2007) 

(citing  Maras  v.  City  of  Brainerd,  502  N.W.2d  69,  77  (Minn.Ct.App.1993))    Only 

proof  that  the  officer  committed  a  willful  or  malicious  wrong  can  defeat  official 

immunity.  Elwood, 423 N.W.2d at 679; Susla v. State, 247 N.W.2d 907, 912 (Minn. 

1976).    This  requires  proof  of  the  officerʹs  ʺintentional  doing  of  a  wrongful  act 

without  legal  justification  or  excuseʺ.    Rico,  472  N.W.2d  100,  107.    But  a  plaintiff 

must do more than allege malice or willfulness:  the plaintiff must present specific 

facts  showing  that  the  official  knew  that  what  he  or  she  was  doing  lacked  legal 

justification.   Reuter  v. City of  New Hope, 449 N.W.2d 745, 751 (Minn.  App. 1990); 

Frankʹs Livestock & Poultry Farm, Inc. v. City of Wells, 431 N.W.2d 574, 578 (Minn. 

App.  1988).    The  measure  of  proof  of  ʺmaliceʺ  to  defeat  official  immunity 

resembles  the  measure  of  proof  necessary  to  defeat  federal  qualified  immunity:  

the plaintiff must prove that the defendant knowingly violated clearly established 

law at the time he acted: 

       [T]he wilful or malicious wrong exception to official immunity ... does 
       not impose liability merely because an official intentionally commits 
       an  act  that  a  court  or  a  jury  subsequently  determines  is  a  wrong.  
       Instead,  the  exception  anticipates  liability  only  when  an  official 



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       intentionally commits an act that he or she then has reason to believe 
       is prohibited. 

Rico v. State, 472 N.W.2d 100, 107 (emphasis in original). 

       Plaintiff  can  present  no  specific  facts  from  which  a  reasonable  jury  could 

infer malice on the part of Jason Andersen.  Andersen admits that he shot Mr. Lee.  

However,  the  evidence  will  clearly  show  that  the  shooting  was  done  without 

malice as Andersen reasonably feared for his own life and bodily integrity and the 

lives of others when he fired at Lee.  All state law claims against Andersen must be 

dismissed.   

                 ii. City of Minneapolis is entitled to vicarious official 
                      immunity for the remaining state law claims. 
                     
       Official immunity protects government entities from vicarious liability for 

actions  that  are  entitled  to  immunity.  Craighead  v.  Lee,  399  F.3d  954,  (8th  Cir. 

1998),  citing  Wiederholt  v.  City  of  Minneapolis,  581  N.W.2d  312,  316  (Minn.  1998).  

Where  the employee is protected  by  official  immunity,  the governmental  entity 

will  not  be  called  on  to  indemnify  the  individual  nor  will  the  entity  be  liable 

under the doctrine of respondeat superior.  Watson by Hanson v. Metropolitan Transit 

Commission, 553 N.W.2d  406,  415 (Minn.  1996).   All  state  law  claims  against the 

City must, therefore, also be dismissed. 




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                iii. The City is entitled to statutory immunity for all state law 
                     claims. 
 
        The Court has already ruled that the City is protected by statutory 

immunity for the claims directly brought against it.   

                      
                  iv. Assault and Battery 
                      
        Plaintiff claims that Andersen committed assault and battery when he 

seized Lee on July 22, 2006.   

      An assault is an unlawful threat to do bodily harm to another with the 
      present ability to carry the threat into effect.   
       
Dahlin  v.  Frazer,  288  N.W.  851,  852  (Minn.  1939).    A  battery  is  defined  as  an 

“intentional  unpermitted  offensive  contact  of  another.”    Paradise  v.  City  of 

Minneapolis,  297  N.W.2d  152,  155  (Minn.  1980).    Because  a  police  officer  may 

come  in  contact  with  an  individual  for  certain  purposes,  the  use  of  force  by  a 

police  officer  must  be  excessive  to  constitute  battery.    Johnson  v.  Peterson,  358 

N.W.2d  484,  485  (Minn.  Ct.  App.  1984)  (citing  Paradise,  297  N.W.2d  152,  155); 

Minn.  Stat.  §§  609.06  and  066.    Thus,  excessive  or  unreasonable  force  is  an 

element of battery when the accused is a police officer executing an official duty.  

Id. 




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       Under  Minnesota  statutes  a  police  officer,  in  the  execution  of  his  duties, 

may use deadly force in certain circumstances: 

       Subd.  2.  Use  of  deadly  force.  Notwithstanding  the  provisions  of  section 
       609.06  or  609.065,  the  use  of  deadly  force  by a  peace  officer  in  the  line  of 
       duty is justified only when necessary: 
 
       (1)  to  protect  the  peace  officer  or  another  from  apparent  death  or  great 
       bodily harm; 
 

       (2) to effect the arrest or capture, or prevent the escape, of a person whom 
       the  peace  officer  knows  or  has  reasonable  grounds  to  believe  has 
       committed  or  attempted  to  commit  a  felony  involving  the  use  or 
       threatened use of deadly force; or 
 

       (3) to effect the arrest or capture, or prevent the escape, of a person whom 
       the  officer  knows  or  has  reasonable  grounds  to  believe  has  committed  or 
       attempted  to  commit  a  felony  if  the  officer  reasonably  believes  that  the 
       person will cause death or great bodily harm if the personʹs apprehension 
       is delayed. 
 
Minn.  Stat.  §  609.066.    Thus,  if  Andersen  acted  in  conformity  with  any  of  the 

three subdivisions, his actions are protected by statute.  In this case the evidence 

will  show  that  Andersen  shots  at  Lee  were  justified  under  each  of  the  three 

different criteria.  He shot to protect himself and others against imminent death 

or bodily harm.  He shot to prevent the escape of a person who committed felony 

involving the threatened use of force, and he shot to effect the arrest of someone 




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whom he reasonably believed would cause death or grievous bodily harm if his 

apprehension was delayed.    

 
          b. Federal Claims 

                   i. Plaintiff’s 42 U.S.C. § 1983 claims against Andersen fail.   
                      
       Section  1983  prohibits  government  officials  from  depriving  other  persons 
       of  “rights,  privileges,  or  immunities  secured  by  the  Constitution.”  42 
       U.S.C.  §  1983.  However,  government  officials  are  entitled  to  dismissal  “if 
       their  conduct  does  not  violate  clearly  established  statutory  or 
       constitutional  rights  of  which  a  reasonable  person  would  have  known.” 
       Sanders  v.  City  of  Minneapolis,  474  F.3d  523,  526  (8th  Cir.2007)  (internal 
       quotation marks omitted). 
 
Hassan v. City of Minneapolis, 489 F.3d 914, 918 ‐919 (8th Cir. 2007).  In claims of 

excessive  force,  the  court  must  analyze  the  situation  under  the  Fourth 

Amendment’s objective reasonableness standard.  Id., citing Craighead v. Lee, 399 

F.3d 954, 961 (8th Cir.2005) 

       It  is  unreasonable  under  the  Fourth  Amendment’s  “objective 

reasonableness”  standard  to  “seize  an  unarmed,  nondangerous  suspect  by 

shooting him dead.”  Brosseau v. Haugen, 543 U.S. 194, 197 (2004) (citing Tennessee 

v. Garner, 471 U.S. 1, 11 (1985)).  However, when officers have probable cause to 

believe  that  the  suspect  “poses  a  threat  of  serious  physical  harm,  either  to  the 




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officer[s] or to others…” the use of deadly force to prevent a suspect’s escape is 

not constitutionally unreasonable.  Id.   


       The  Fourth  Amendment  protects  citizens  from  being  seized  through  the 

use of force by law enforcement officers.  See Graham v. Connor, 490 U.S. 386, 395 

(1989).    Factors  relevant  to  the  analysis  of  an  excessive  force  claim  are  “the 

severity of the crime at issue, whether the suspect poses an immediate threat to 

the  safety  of  the  officer  or  others,  and  whether  he  is  actively  resisting  arrest  or 

attempting  to  evade  arrest  by  flight.”    Graham,  490  U.S.  at  396.    Under  Graham, 

the test is one of objective reasonableness.  In other words, no liability attaches to 

an officers’ use of force if a reasonable police officer at the scene could have used 

such  force.    “[T]he  right  to  make  an  arrest  or  investigatory  stop  necessarily 

carries with it the right to use some degree of physical coercion or threat thereof 

to  effect  it.”    Grahm v.  Connor,  490  U.S. 386,  396  (1989).    In  evaluating  excessive 

force claims, “the reasonableness of the officer’s belief as to the appropriate level 

of  force  should  be  judged  from  that  on‐scene  perspective.”  Saucier  v  Katz,  533 

U.S. 194, 121 S.Ct. 2151, 2158. (2001)  In Saucier, the Court concluded: 

       Because police officers are often forced to make split‐second judgments—
       in circumstances that are tense, uncertain, and rapidly evolving—about the 
       amount  of  force  that  is  necessary  in  a  particular  situation,  the 
       reasonableness  of  the  officer’s  belief  as  to  the  appropriate  level  of  force 


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         should  be  judged  from  that  on‐scene  perspective.    We  set  out  a  test  that 
         cautioned against the ‘20/20 vision hindsight’ in  favor of deference to the 
         judgment of reasonable officers on the scene. 
 
Id. 
 
         In a case where an officer believed a suspect intended to run him over, the 

Eighth  Circuit  found  that  the  officer’s  use  of  deadly  force  against  him  was 

objectively reasonable.  Hernandez v. Jarman, 340 F.3d 617, 623 (8th Cir. 2003).  The 

Court held that the officer’s action did not constitute excessive force in violation 

of the Fourth Amendment, and, therefore, was entitled to qualified immunity. 

         As  the  Supreme  Court  noted  in  Brosseau  v.  Haugen,  543  U.S.  194  (2004), 

courts  found  no  Fourth  Amendment  violation  when  an  officer  shot  a  fleeing 

suspect who presented a risk to others.  See, Cole v. Bone, 993 F.2d 1328, 1333 (8th 

Cir. 1993) (officer had probable cause to believe that the truck posed an imminent 

threat  of  serious  physical  harm  to  innocent  motorists  as  well  as  to  the  officers 

themselves) and Smith v. Freland, 954 F.2d 343, 347 (6th Cir. 1992) (a car can be a 

deadly  weapon  and  officerʹs  decision  to  stop  the  car  from  possibly  injuring 

others was reasonable). 

         In  this  case  Andersen  and  Benz  were  faced  with  a  rapidly  evolving 

situation.  One that quickly transitioned from a routine attempt at citizen contact 




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to  a  fleeing  citizen  with  a  gun,  a  chase,  threatening  motions  with  the  gun,  and 

finally, a shooting.  The evidence will show that Andersen acted reasonably at all 

relevant times during the pursuit and shooting of Lee. 

                 ii. Andersen is entitled to qualified immunity for his actions. 
 
      Qualified  immunity  is  designed  to  shield  officers  from  liability  if  a 

reasonable officer could have believed his or her conduct was lawful in light of 

both clearly established law and the information possessed by the officers at the 

time of their actions. Lyles v. City of Barling, 181 F.3d 914, 917 (8th Cir. 1999) (citing 

Anderson  v.  Creighton,  483  U.S.  635,  641  (1987)).    This  inquiry  is  an  entirely 

objective one, and a court faced with a qualified immunity claim must inquire as 

to  whether  the  official’s  actions  were  objectively  reasonable  at  the  time  of  the 

incident.  Anderson, 483 U.S. at 639.  Further, the grant of qualified immunity is 

broad:  courts  deny  such  immunity  only  when  it  is  obvious  that  no  reasonable 

officer  would  have  concluded  that  such  conduct  was  legal,  and  if  officers  of 

reasonable  competence  could  disagree  on  a  matter,  immunity  must  be 

recognized.  Malley v. Briggs, 475 U.S. 335, 341 (1986). 


      In  determining  whether  a  police  officer  is  entitled  to  qualified  immunity 

from a § 1983 claim, the Court first considers whether the facts alleged, construed 




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in  the  light  most  favorable  to  the  non‐moving  party,  show  that  the  officer 

violated a constitutional right.  If no constitutional right could have been violated 

if  the  allegations  were  established,  there  is  no  necessity  for  further  inquiries 

concerning qualified immunity.  Wertish v. Krueger, 433 F.3d 1062, 1066 (8th Cir. 

2006)  (citing Saucier v. Katz, 533 U.S. 194, 201 (2001)).   


       The Eighth Circuit has made it clear that dismissal is mandated either if the 

law  prohibiting  the  alleged  police  misconduct  was  not  clearly  established  at  the 

time  it  occurred,  or  if  a  reasonable  officer  could  have  believed  his  conduct  to  be 

lawful.    Ginter  v.  Stallcup,  869  F.2d  385,  387  (8th  Cir.  1989);  Myers  v.  Morris,  810 

F.2d  1437,  1461‐62  (8th  Cir.  1987).  Whether  qualified  immunity  applies  is  a 

question for the court.  Corren v. Hanson, 880 F.2d 95, 97 (8th Cir. 1989); Hunter v. 

Bryant, 502 U.S. 224, 228 (1991). 

       A  court  faced  with  a  qualified  immunity  claim  must  ask  whether  the 

officialʹs  actions  were  objectively  reasonable  in  light  of  ʺclearly  established  lawʺ 

that existed at the time the defendant acted.  Anderson, 485 U.S. at 639.  An officialʹs 

subjective  motivations  or  beliefs  about  his  conduct  are  irrelevant.    Thus,  an 

allegation  of  malice  is  also  irrelevant  to  the  federal  qualified  immunity  issue.  

Anderson, 485 U.S. at 641; Malley v. Briggs, 475 U.S. 335, 341 (1986). 




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       The Supreme Court has cautioned that the nation’s courts should be careful 

in  selecting  the  level  of  generality  at  which  they  define  the  “clearly  established 

law”  for  purposes  of  qualified  immunity:  “The  contours  of  the  right  [alleged  to 

have  been  violated]  must  be  sufficiently  clear  that  a  reasonable  officer  would 

understand that what he is doing violates that right.”   Anderson, 483 U.S. at 639‐40 

(emphasis  added).    “Clearly  established  law”  normally  requires  the  existence  of 

cases applying the law to the precise factual circumstances the official faced when 

he  acted.    Id.    A  plaintiff  must  show  that  the  right  was  clearly  established  in  a 

particularized sense relevant to the case at hand.  Mettler, 165 F.3d at 1203 (citing 

Anderson v. Creighton, 483 U.S. 635, 640 (1987)). 

       Qualified immunity is denied only when “it is obvious that no reasonably 

competent  officer  would  have  concluded”  that  his  conduct  was  reasonable.  

Malley, 475 U.S. at 341 emphasis added.  This broad immunity rests on the need to 

assure  officers  who  make  judgment  calls  that  their  actions  will  not  be  met  by 

lawsuits  in  close  cases,  lest  the  fear  of  lawsuits  dampen  their  willingness  to  do 

their jobs.  Harlow, 475 U.S. at 807, 815 (1982).   

       At its heart, Plaintiff’s § 1983 claim is an excessive force claim.  As such, the 

Court must undertake an objective reasonableness inquiry.  The Court judges the 




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reasonableness of the use of force from the “perspective of a reasonable officer on 

the scene, rather than with the 20/20 vision of hindsight.”  Graham v. Connor, 490 

U.S. 386, 397 (1989).  This reasonableness inquiry is also mindful of the fact that 

police  officers  must  make  split‐second  decisions  in  tense  and  dangerous 

situations.  Id. at 396‐97.   


       In this case, the evidence will show that Andersen reasonably determined 

that the use of deadly force was necessary after Lee abandoned his bike and fled 

him on foot at breakneck speed and repeatedly turned towards him with a gun 

in his hand.  Andersen had a right and duty to protect the lives of himself and 

others, and to prevent the escape of a person who had offered deadly force to a 

police  officer.    A  reasonable  officer  in  a  like  situation  would  make  the  same 

choice.  Thus, Andersen is entitled to qualified immunity. 


                iii. No constitutional rights were implicated when Andersen 
                     and Benz followed the cyclists. 
 
       Plaintiff  may  argue  that  Andersen  and  Benz  committed  a  constitutional 

violation  when  Andersen  decided  to  follow  the  group  of  bicyclists  through  the 

school parking lot.  However, any such argument ignores the fact that no seizure 

had occurred at that point.        




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       Not  every  officer‐citizen  encounter  triggers  fourth  amendment  concerns. 
       Thus,  the  Supreme  Court  has  clearly  indicated  that  a  law  enforcement 
       officer does not violate the fourth amendment “by merely approaching an 
       individual * * * in [a] public place, by asking him if he is willing to answer 
       some  questions,  by  putting  questions  to  him  if  the  person  is  willing  to 
       listen,  or  by  offering  in  evidence  in  a  criminal  prosecution  his  voluntary 
       answers to such questions.”  
 
U.S.  v.  Miller,  835  F.2d  187,  189  (8th  Cir.1987)  (quoting  Florida  v.  Royer,  460  U.S. 

491,  497,  (1983)  (plurality).    Police  officers  do  not  violate  the  Fourth 

Amendment’s prohibitions by “merely by approaching individuals on the street 

or  in  other  public  places  and  putting  questions  to  them  if  they  are  willing  to 

listen.”    U.S.  v.  Drayton,  536  U.S.  194,  200  (2002);  see  e.g.,  United  States  v. 

Hernandez, 854 F.2d 295, 297 (8th Cir.1988); United States v. Archer, 840 F.2d 567, 

572 (8th Cir.1988), cert. denied, 488 U.S. 941 (1988); United States v. Campbell, 843 

F.2d  1089,  1092‐93  (8th  Cir.1988);  Greer  v.  City  of  Duluth,  2007  WL  547737,  11 

(D.Minn. 2007). 

       In  this  case  Andersen  followed  the  men  through  the  parking  lot  without 

his emergency lights on and at a slow rate of speed.  He was observing them, but 

made  no  attempt  to  stop  or  seize  them.    This  is  the  kind  of  behavior  officers 

conduct  all  the  time,  whether  sitting  in  their  squad  cars  near  a  corner  where 

drugs  are  known  to  be  sold,  or  walking  up  and  initiating  conversations  with 




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members of the public on the street.  Andersen’s action is clearly not a stop, and 

not sufficient to implicate the bicycle riders’ Fourth Amendment protections.   


          c. Damages 

                i. 42 U.S.C. § 1983 and State of Minnesota Wrongful Death, 
                    Minn. Stat. § 573.02 
                   
       “Federal law provides no remedy under § 1983 for wrongful death.”  Gill 

v. Maciejewski, 546 F.3d 557, 565 (8th Cir. 2008).  Thus, courts are directed to look 

to state law on wrongful death to find a suitable remedy when a wrongful death 

claim  is  brought  under  §  1983.    Thus,  regardless  of  whether  Plaintiff’s  claim  is 

made pursuant to § 1983 Wrongful Death, or § 573.02 Wrongful Death, the Court 

should instruct the jury as to damages in the the same way. 

       There are 12 factors for a jury to consider in determining a fair amount: (1) 
       past contributions, (2) life expectancy at the time of death, (3) health, age, 
       habits,  talents,  and  success,  (4)  occupation,  (5)  past  earnings,  (6)  likely 
       future  earning  capacity  and  prospects  of  bettering  oneself  had  he  or  she 
       lived, (7) living expenses, (8) legal obligation to support spouse or next of 
       kin  and  the  likelihood  of  fulfilling  that  obligation,  (9)  reasonable  funeral 
       and  necessary  medical  expenses,  (10)  probability  of  paying  off  existing 
       debts,  (11)  future  counsel,  guidance,  and  aid,  and  (12)  future  advice, 
       comfort, assistance, and protection. 
 
Youngquist v. Western Nat. Mut. Ins. Co., 716 N.W.2d 383, 386 (Minn. Ct. App. 

2006) (emphasis removed).  Thus, all claims for damages must be limited to the 

factors described in Youngquist and Minnesota CIVJIG 91.75.  


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              ii. Punitive Damages 
                  
       Defendant  City  of  Minneapolis  is  immune  from  punitive  damages,  both 

for  state  and  for  federal  claims.    Punitive  damages  in  this  action  for  the  §1983 

claim  are  governed  by  the  standards  of  8th  Cir.  Inst.  4.50C.    Any  punitive 

damage  instruction  should  be  directed  against  Defendant  Andersen  alone.    A 

draft that is not explicit is likely to lead the jury to conclude that the City is liable 

for  Andersen’s  actions.    A  separate  state  law  punitive  damages  instruction 

should be avoided, as two instructions would further confuse the jury. 

          d. Other issues 

                  i. Spoliation 

       Defendants are aware that Plaintiffs may request a spoliation instruction in 

regard to Andersen’s squad car video.  Spoliation is the intentional destruction of 

evidence.    E*Trade Secs.  LLC  v.  Deutsche Bank  AG,  230  F.R.D.  582,  587  (D.  Minn. 

2005).  The moving party has the burden to prove spoliation.  See Johnson v. Ready 

Mixed  Concrete  Co.,  424  F.3d  806  (8th  Cir.  2005).    The  moving  party  must  also 

demonstrate that it will be prejudiced by the absence of the evidence.  Greyhound 

Lines, Inc. v. Wade, 485 F.3d 1032, 1035‐1036 (8th Cir. 2007); Stevenson, 354 F.3d at 

748 (citing Dillon v. Nissan Motor Co., 986 F.2d 263, 267 (8th Cir. 1993)) 




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      There is no factual basis for this allegation.  Plaintiff has offered no expert 

analysis of the squad car video and cannot present any evidence indicating that 

the  squad  video was spoiled or  tampered  with  in  any way.    The  original  video 

recovered from the squad car will be present and viewable at trial.   

                ii. Conspiracy 

      Plaintiff’s allegations of conspiracy are insufficient in themselves to defeat 

the  Andersen’s  claims  of  qualified  immunity.    “[C]onclusory  and  unsupported 

allegation  of  conspiratorial  purpose  fails  to  defeat  an  assertion  of  qualified 

immunity  by  a  defendant  otherwise  entitled  to  that  defense.”    Myers  v.  Morris, 

810 F.2d 1437, 1453 (8th Cir. 1987).  Because qualified immunity applies to acts by 

individual officers, it must be analyzed individually by each defendant.   

      To advance a theory of conspiracy, Plaintiff “must ‘allege with

particularity and specifically demonstrate material facts that demonstrate

defendants reached an agreement.’” Reasonover v. St. Louis County, 447 F.3d 569,

582 (8th Cir. 2006) (quoting Marti v. City of Maplewood, 57 F.3d 680, 685 (8th Cir.

1995)). Plaintiff must show that one or more of the conspirators did or caused to

be done an act in furtherance of the conspiracy. Lac du Flambeau Indians v. Stop

Treaty Abuse-Wis, 759 F.Supp. 1339, 1351 (W.D. Wis. 1991).




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      Here there is no claim of conspiracy, and Andersen is not alleged in the

Amended Complaint to be a conspirator. There is no evidence, circumstantial or

otherwise, that Andersen conspired with other officers to weight the

investigation of the shooting in his favor. Plaintiff might look to one or more

events in the investigation and allege that something could have been done

better.   But, such post hoc criticism, however well or badly founded, is not

evidence of conspiracy.

               iii. Motions in limine. 

      Defendants are filing their motions in limine separate from this brief. 




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               iv. Estimated length of trial. 

       Defendants estimate that the length for the entire trial, including jury 

selection and jury charge to be 7 to 8 days. 

 
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